 Case 2:16-cr-00024-LGW-BWC Document 481 Filed 08/02/17 Page 1 of 1


                        UNITEDSTATESDISTRICTCOURT
                        SOUTHERNDISTRICTOF GEORGIA
                            BRUNSWICK DIVISION


UNITEDSTATESOFAMERICA.
                                                            {1                   i':
     Plaintiff,                                             r,i          c
                                                            ;l        - ^u)
                                                   cR 21              n " t':.


      MOREHEAD,
MARQUEZ
                                                                      :it *i i:.
                                                                      e   l-j
     Defendant.
                                                                      1:,-.:
                                                                         ;:l

                           MOTIONTO CONTINUE
               ORDERGRANTING


     Counsel for the Defendanthas filed a Motion for Continuanceof

SentencingHearing(Dkt.479).Afterreviewand consideration
                                                      of the Motionby

                                                     the Motionis
                                     by the Government,
the Court,and there beingno opposition

herebyGRANTED.

                                                       18, 2Q17at
                                           for September
     The sentencinghearlngnow is rescheduled

1:00 p,m. in the BrunswickFederal Courthouse,801 GloucesterStreet,

        Georgia.
Brunswick,

     Thisthe      l/"    dayof




                                     ONORABLELISA GODBEYWOOD
                                     CT COURTJUDGE
                                 SOUTHERNDISTRICTOF GEORGIA
